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                                         5 on 3/20/2013.
      NOTE: The governor signed this measure




          HOUSE BILL 13-1224


          BY REPRESENTATIVE(S) Fields, Court, Fischer, Hullinghorst, Labuda,
          Levy, Melton, Pabon, Rosenthal, Schafer, Williams, Young, Buckner,
          Ferrandino;
          also SENATOR(S) Hodge, Aguilar, Guzman, Heath, Nicholson, Ulibarri,
          Morse.


          CONCERNING PROHIBITING LARGE-CAPACITY AMMUNITION MAGAZINES.


          Be it enacted by the General Assembly of the State of Colorado:

                   SECTION 1. In Colorado Revised Statutes, add part 3 to article 12
          of title 18 as follows:

                                     PART 3
                      LARGE-CAPACITY AMMUNITION MAGAZINES

               18-12-301. Definitions. AS USED IN THIS PART 3, UNLESS THE
          CONTEXT OTHERWISE REQUIRES:

               (1) "BUREAU" MEANS THE COLORADO BUREAU OF INVESTIGATION
          CREATED AND EXISTING PURSUANT TO SECTION 24-33.5-401, C.R.S.

                  (2) (a) "LARGE-CAPACITY MAGAZINE MEANS:
                                                                                               Exhibit A
          ________
          Capital letters indicate new material added to existing statutes; dashes through words indicate
          deletions from existing statutes and such material not part of act.
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                (I) A FIXED OR DETACHABLE MAGAZINE, BOX, DRUM, FEED STRIP, OR
          SIMILAR DEVICE CAPABLE OF ACCEPTING, OR THAT IS DESIGNED TO BE
          READILY CONVERTED TO ACCEPT, MORE THAN FIFTEEN ROUNDS OF
          AMMUNITION;

                (II) A FIXED, TUBULAR SHOTGUN MAGAZINE THAT HOLDS MORE
          THAN TWENTY-EIGHT INCHES OF SHOTGUN SHELLS, INCLUDING ANY
          EXTENSION DEVICE THAT IS ATTACHED TO THE MAGAZINE AND HOLDS
          ADDITIONAL SHOTGUN SHELLS; OR

                (III) A NONTUBULAR, DETACHABLE MAGAZINE, BOX, DRUM, FEED
          STRIP, OR SIMILAR DEVICE THAT IS CAPABLE OF ACCEPTING MORE THAN
          EIGHT SHOTGUN SHELLS WHEN COMBINED WITH A FIXED MAGAZINE.

                (b) "LARGE-CAPACITY MAGAZINE" DOES NOT MEAN:

                (I) A FEEDING DEVICE THAT HAS BEEN PERMANENTLY ALTERED SO
          THAT IT CANNOT ACCOMMODATE MORE THAN FIFTEEN ROUNDS OF
          AMMUNITION;

               (II) AN ATTACHED TUBULAR DEVICE DESIGNED TO ACCEPT, AND
          CAPABLE OF OPERATING ONLY WITH, .22 CALIBER RIMFIRE AMMUNITION; OR

                (III) A TUBULAR MAGAZINE THAT IS CONTAINED IN A LEVER-ACTION
          FIREARM.

                18-12-302. Large-capacity magazines prohibited - penalties -
          exceptions. (1) (a) EXCEPT AS OTHERWISE PROVIDED IN THIS SECTION, ON
          AND AFTER JULY 1, 2013, A PERSON WHO SELLS, TRANSFERS, OR POSSESSES
          A LARGE-CAPACITY MAGAZINE COMMITS A CLASS 2 MISDEMEANOR.

                (b) ANY PERSON WHO VIOLATES SUBSECTION (1) OF THIS SECTION
          AFTER HAVING BEEN CONVICTED OF A PRIOR VIOLATION OF SAID SUBSECTION
          (1) COMMITS A CLASS 1 MISDEMEANOR.

               (c) ANY PERSON WHO VIOLATES SUBSECTION (1) OF THIS SECTION
          COMMITS A CLASS 6 FELONY IF THE PERSON POSSESSED A LARGE-CAPACITY
          MAGAZINE DURING THE COMMISSION OF A FELONY OR ANY CRIME OF
          VIOLENCE, AS DEFINED IN SECTION 18-1.3-406.


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                (2) (a) A PERSON MAY POSSESS A LARGE-CAPACITY MAGAZINE IF HE
          OR SHE:

                 (I) OWNS THE LARGE-CAPACITY MAGAZINE ON THE EFFECTIVE DATE
          OF THIS SECTION; AND

                (II) MAINTAINS CONTINUOUS POSSESSION OF THE LARGE-CAPACITY
          MAGAZINE.

                (b) IF A PERSON WHO IS ALLEGED TO HAVE VIOLATED SUBSECTION (1)
          OF THIS SECTION ASSERTS THAT HE OR SHE IS PERMITTED TO LEGALLY
          POSSESS A LARGE-CAPACITY MAGAZINE PURSUANT TO PARAGRAPH (a) OF
          THIS SUBSECTION (2), THE PROSECUTION HAS THE BURDEN OF PROOF TO
          REFUTE THE ASSERTION.

                (3) THE OFFENSE DESCRIBED IN SUBSECTION (1) OF THIS SECTION
          SHALL NOT APPLY TO:

                 (a) AN ENTITY, OR ANY EMPLOYEE THEREOF ENGAGED IN HIS OR HER
          EMPLOYMENT DUTIES, THAT MANUFACTURES LARGE-CAPACITY MAGAZINES
          WITHIN COLORADO EXCLUSIVELY FOR TRANSFER TO, OR ANY LICENSED GUN
          DEALER, AS DEFINED IN SECTION 12-26.1-106 (6), C.R.S., OR ANY EMPLOYEE
          THEREOF ENGAGED IN HIS OR HER OFFICIAL EMPLOYMENT DUTIES, THAT
          SELLS LARGE-CAPACITY MAGAZINES EXCLUSIVELY TO:

                (I) A BRANCH OF THE ARMED FORCES OF THE UNITED STATES;

                (II) A DEPARTMENT, AGENCY, OR POLITICAL SUBDIVISION OF THE
          STATE OF COLORADO, OR OF ANY OTHER STATE, OR OF THE UNITED STATES
          GOVERNMENT;

               (III) A FIREARMS RETAILER FOR THE PURPOSE OF FIREARMS SALES
          CONDUCTED OUTSIDE THE STATE;

                (IV) A FOREIGN NATIONAL GOVERNMENT THAT HAS BEEN APPROVED
          FOR SUCH TRANSFERS BY THE UNITED STATES GOVERNMENT; OR

               (V) AN OUT-OF-STATE TRANSFEREE WHO MAY LEGALLY POSSESS A
          LARGE-CAPACITY MAGAZINE; OR



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                (b) AN EMPLOYEE OF ANY OF THE FOLLOWING AGENCIES WHO BEARS
          A FIREARM IN THE COURSE OF HIS OR HER OFFICIAL DUTIES:

                (I) A BRANCH OF THE ARMED FORCES OF THE UNITED STATES; OR

                (II) A DEPARTMENT, AGENCY, OR POLITICAL SUBDIVISION OF THE
          STATE OF COLORADO, OR OF ANY OTHER STATE, OR OF THE UNITED STATES
          GOVERNMENT; OR

                (c) A PERSON WHO POSSESSES THE MAGAZINE FOR THE SOLE PURPOSE
          OF TRANSPORTING THE MAGAZINE TO AN OUT-OF-STATE ENTITY ON BEHALF
          OF A MANUFACTURER OF LARGE-CAPACITY MAGAZINES WITHIN COLORADO.

                 18-12-303. Identification markings for large-capacity magazines
          - rules. (1) A LARGE-CAPACITY MAGAZINE THAT IS MANUFACTURED IN
          COLORADO ON OR AFTER THE EFFECTIVE DATE OF THIS SECTION MUST
          INCLUDE A PERMANENT STAMP OR MARKING INDICATING THAT THE
          LARGE-CAPACITY MAGAZINE WAS MANUFACTURED OR ASSEMBLED AFTER
          THE EFFECTIVE DATE OF THIS SECTION. THE STAMP OR MARKING MUST BE
          LEGIBLY AND CONSPICUOUSLY ENGRAVED OR CAST UPON THE OUTER
          SURFACE OF THE LARGE-CAPACITY MAGAZINE.

                (2)  THE BUREAU MAY PROMULGATE SUCH RULES AS MAY BE
          NECESSARY FOR THE IMPLEMENTATION OF THIS SECTION, INCLUDING BUT
          NOT LIMITED TO RULES REQUIRING A LARGE-CAPACITY MAGAZINE THAT IS
          MANUFACTURED ON OR AFTER THE EFFECTIVE DATE OF THIS SECTION TO
          BEAR IDENTIFYING INFORMATION IN ADDITION TO THE IDENTIFYING
          INFORMATION DESCRIBED IN SUBSECTION (1) OF THIS SECTION.

                (3) A PERSON WHO MANUFACTURES A LARGE-CAPACITY MAGAZINE
          IN COLORADO IN VIOLATION OF SUBSECTION (1) OF THIS SECTION COMMITS
          A CLASS 2 MISDEMEANOR AND SHALL BE PUNISHED IN ACCORDANCE WITH
          SECTION 18-1.3-501.

                SECTION 2. Effective date. This act takes effect July 1, 2013.

                SECTION 3. Safety clause. The general assembly hereby finds,




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          determines, and declares that this act is necessary for the immediate
          preservation of the public peace, health, and safety.




          ____________________________        ____________________________
          Mark Ferrandino                                     John P. Morse
          SPEAKER OF THE HOUSE                              PRESIDENT OF
          OF REPRESENTATIVES                                  THE SENATE




          ____________________________        ____________________________
          Marilyn Eddins                                   Cindi L. Markwell
          CHIEF CLERK OF THE HOUSE                         SECRETARY OF
          OF REPRESENTATIVES                                  THE SENATE




                 APPROVED________________________________________




                           _________________________________________
                           John W. Hickenlooper
                           GOVERNOR OF THE STATE OF COLORADO




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